                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )          No. 4:12-CR-0386-01-DGK
                                                 )
KENNETH RAY BORDERS,                             )
                                                 )
       Defendant.                                )

     ORDER DENYING IN PART DEFENDANT BORDERS’ MOTION IN LIMINE

       Pending before the Court is Defendant Kenneth Ray Borders’ Motion In Limine (Doc.

110) to prohibit the Government from (1) offering evidence associated with overt act 7, and (2)

limiting the scope of testimony relating to Department of Transportation (“DOT”) stops and

infractions. The Court denies the motion for the following reasons.

I.     Defendant’s admission that he previously stole a 1998 Waller Trucking Company

53-foot Trailmobile trailer, VIN 1PT01JAH7W6005586, is admissible.

       Overt act 7 alleges that, “on or about between February 1, 2002, and May 7, 2002,

defendant Kenneth Ray Borders transported motor vehicle products stolen in interstate

commerce and valued at $27,583 in a 1998 Waller Trucking Company 53-foot Trailmobile

trailer, VIN 1PT01JAH7W6005586.” In 2003, Borders pled guilty by agreement in the Western

District of Missouri to one count of theft of motor vehicle products from an interstate shipment

of freight. In the “Relevant Offense Conduct” section of the plea agreement, Borders admitted to

stealing the 1998 Waller Trucking Company 53-foot Trailmobile trailer described above. See

United States v. Borders, No. 4:03-02-CR-HFS, at *2 (W.D. Mo. Feb. 14, 2003).               The

Government proposes to introduce this portion of the plea agreement against Borders in the

pending trial as an admission by a party opponent, or alternately, as 404(b) evidence.


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         The Government cites three Eight Circuit cases1 in which courts admitted testimony

obtained in a state criminal conviction in a subsequent federal criminal trial under Rule 801(d)(2)

as an admission by a party opponent. Borders contends the three cases cited by the Government

are distinguishable because the prior admissions in those cases stemmed from state court

prosecutions, but Borders’ 2003 conviction was prosecuted by the United States Attorney’s

Office for the Western District of Missouri, the same office that is now prosecuting him for

conspiracy.

         Additionally, Borders argues the statements in his previous plea agreement should be

excluded under Rule 403 because they are substantially more prejudicial than probative. Borders

cites United States v. Martinez, 555 F.2d 1273, 1276 (5th Cir. 1977), as authority. In Martinez

the Fifth Circuit held the trial court erred by admitting for impeachment purposes the defendant’s

state court conviction for aiding and abetting in a subsequent federal prosecution for conspiracy

based on the same transaction because this evidence was more prejudicial than probative.

However, the Eighth Circuit distinguished Martinez in United States v. Riley, noting that the use

of a prior conviction for impeachment purposes “differs materially from the use of an admission

by the defendant.”         United States v. Riley, 684 F.2d 542, 545 (8th Cir. 1982) (holding

defendant’s prior state guilty plea was admissible under both Rule 404(b) and Rule 801(d)(2)).

Thus, the Court finds the statements’ probative value are not substantially outweighed by a

danger of unfair prejudice.

         Alternately, Borders contends the case should be excluded under United States v.

Williams, 104 F.3d 213 (8th Cir. 1997), one of the cases cited by the Government, because the

1
 United States v. Holmes, 794 F.2d 345, 349 (8th Cir. 1986) (admitting prior plea of guilty to state charge of theft
by receipt of stolen property as an admission by a party opponent under 801(d)(1) in a subsequent collateral federal
case); see also United States v. Williams, 104 F.3d 213, 216 (8th Cir. 1997) (affirming admission of state court
guilty plea, but noting double jeopardy barred two federal prosecutions); United States v. Riley, 684 F.2d 542, 545
(8th Cir. 1982) (holding defendant’s prior state guilty plea was admissible under both Rule 404(b) and Rule
801(d)(2)).

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previous plea agreement that the Government is seeking to use was not procured by a separate

and independent body, that is, a state court prosecutor acting independently of the federal

prosecutor. In Williams, the Eighth Circuit observed that in order for a plea agreement to be

admissible in a subsequent proceeding, the plea must be voluntary. A plea is not voluntary

unless the defendant is “fully aware of the direct consequences of his plea.” 104 F.3d at 216.

The court also noted that use of a plea obtained in a state criminal proceeding “in a subsequent

federal proceeding is not a direct consequence.” Id. However, the Eighth Circuit acknowledged

that a previous plea used in a subsequent federal proceeding might be involuntary “if the state

prosecutors ‘actively hid’ knowledge of the federal prosecution, or ‘colluded with federal

officials,’” planning to use the statements in a subsequent trial. Id. at 217 (quoting United States

v. Long, 852 F.2d 975, 979 (7th Cir. 1988).

       Although the present case case involves evidence obtained during a plea in a federal

proceeding by the same prosecutor’s office that is now seeking to use this information in a

subsequent federal proceeding, there is no evidence that the previous plea agreement was made

with the knowledge or expectation that it would be used against Borders in a subsequent criminal

case. Borders pled guilty in the previous case a decade before the grand jury indicted him in the

present case. And although the Assistant United States Attorney (“AUSA”) who prosecuted the

2002 case still works for the U.S. Attorney’s office, she now works in a different division, and

there is no evidence that the two AUSAs who have prosecuted the pending case have any

connection to the 2002 case. Consequently, the Court finds it was not a “direct consequence” of

Borders plea in the 2002 case that the admissions he made would be used against him in a

subsequent case, this his plea was voluntary under Williams.

       Finally, Borders acknowledges that in United States v. Felix, the Supreme Court held that

“prosecution of a defendant for conspiracy, where certain of the overt acts relied upon by the

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Government are based on substantive offenses for which the defendant has been previously

convicted, does not violate the Double Jeopardy Clause.” 503 U.S. 378, 380-81 (1992). Thus

there are no double jeopardy concerns here.

       Accordingly, the Court holds Borders’ admission that in 2002 he stole a 1998 Waller

Trucking Company 53-foot Trailmobile trailer, VIN 1PT01JAH7W6005586, is admissible as an

admission by a party opponent. Fed. R. Evid. 801(d)(2).

       Alternately, the Court holds the evidence is admissible under Rule 404(b). Rule 404(b)

provides in relevant part that “evidence of a crime, wrong, or other act . . . may be admissible for

another purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404. To be admissible under

Rule 404(b), evidence “must be (1) relevant to a material issue; (2) proved by a preponderance of

the evidence; (3) higher in probative value than in its prejudicial effect; and (4) similar in kind

and close in time to the crime charged.” United States v. Vieth, 397 F.3d 615, 617-18 (8th Cir.

2005); see also Fed. R. Evid. 403. The proposed evidence is: (1) relevant to Borders’ alleged

plan, intent, and participation in the alleged conspiracy, namely his need to acquire new trailers

without paying for them; (2) easily proved by a preponderance of the evidence; (3) more

probative than unfairly prejudicial since it is highly probative of the charged crimes; and (4)

similar in kind and close in time to the crime charged since the crime is allegedly an overt act

which occurred during the conspiracy.

II.    Evidence of specific DOT safety violations is admissible, within limits.

       Borders also argues that evidence of traffic stops resulting in DOT safety regulations

violations, as in overt act 91, should be limited. Borders contends these infractions are irrelevant

to the conspiracy and will only inflame and confuse the jury.




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        Similar to the above, the Court finds evidence of specific DOT safety violations is

admissible under Rule 404(b) because it is: (1) relevant to Borders’ alleged plan and

participation in the alleged conspiracy, as well as relevant to show that the safety violations were

not the result of mistakes or record keeping accident, but part and parcel of the alleged scheme;

(2) can be proved by a preponderance of the evidence; (3) more probative than unfairly

prejudicial, because the risk of unfair prejudice is relatively low; and (4) similar in kind and

close in time since the violations occurred during the conspiracy.

        The exception to the above is overt act 34, which involves safety violations allegedly

“resulting in a motor vehicle accident causing the death of passenger LMC.” Depending on how

the Government presents evidence concerning the death of passenger LMC during trial, the

probative value of this evidence might be outweighed by the risk of unfair prejudice, and the

Court might limit it. For example, graphic photographs or testimony dwelling on LMC’s death

will likely not be permitted. The Court reserves ruling on the scope of the admissibility of this

evidence until trial.

        IT IS SO ORDERED.

Date:   February 13, 2014                        /s/ Greg Kays
                                                 GREG KAYS, JUDGE
                                                 UNITED STATES DISTRICT COURT




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